











Opinion issued March 11, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00129-CV




IN RE PENA, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 

By petition for writ of mandamus, relator, Eva Pena, seeks to compel the trial
court to vacate its Temporary Orders in Suit to Modify Parent-Child Relationship and
to issue a writ of habeas corpus.


    
We deny the petition for writ of mandamus.
&nbsp;
Per Curiam
&nbsp;
Panel consists of Justices Taft, Keyes, and Alcala.&nbsp;


